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                IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:92CR14
                              )
          v.                  )
                              )
CLEVELAND JOHNSON,            )                        ORDER
                              )
               Defendant.     )
______________________________)


            This matter is before the Court on defendant’s motion

for reconsideration (Filing No. 1158).           The United States Court

of Appeals for the Eighth Circuit affirmed the decision of the

district court (Filing No. 1173), and defendant’s motion is moot.

Accordingly,

            IT IS ORDERED that defendant’s motion for

reconsideration is denied as moot.

            DATED this 14th day of August, 2012.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     ____________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court
